                  Case: 19-11981       Doc: 8     Filed: 06/19/19     Page: 1 of 16




                           UNITED STATES BANKRUPTCY COURT FOR
                            THE WESTERN DISTRICT OF OKLAHOMA

IN RE:        CHRIS WAYNE COOPER

                                                        Bk. Case No. 19-11981 SAH
              Debtor.                                   CHAPTER 7


                        MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                            AND FOR ABANDONMENT OF PROPERTY
                         AND NOTICE OF OPPORTUNITY FOR HEARING

         Wells Fargo Bank, N.A., its successors and assigns, ("Movant" herein) alleges as follows:

         1.       That on or about May 15, 2019, the Debtor filed a Chapter 7 Petition in

Bankruptcy with this Court.

         2.       Movant is the current payee of a mortgage note secured by a mortgage of the

same date upon property generally described as follows:

                  THE EAST HALF OF THE EAST HALF OF THE SOUTHWEST QUARTER
                  (E/2 E/2 SW/4) OF SECTION SEVENTEEN (17), TOWNSHIP ELEVEN (11)
                  NORTH, RANGE FOUR (4) EAST OF THE INDIAN MERIDIAN,
                  POTTAWATOMIE COUNTY, OKLAHOMA.

                  PROPERTY ADDRESS: 42408 Wolverine Road, Shawnee, OK 74801

         3.       Movant is informed and believes, and, based upon such information and belief,

alleges that title to the subject property is currently vested in the name of Debtor.

         4.       There is currently due an unpaid principal balance of $96,106.73, plus interest at

7.875 percent per annum from February 1, 2018 plus late charges.

         5.       Movant alleges that there is insufficient equity in the property to be of any value

to the estate and that the property is burdensome; that Movant is not adequately protected; that

the subject property is not necessary to an effective reorganization or rehabilitation, and that it
                Case: 19-11981        Doc: 8     Filed: 06/19/19      Page: 2 of 16




would be unfair and inequitable to delay this secured creditor in the foreclosure of its interest.

Therefore, cause exists to provide relief from the automatic stay and abandonment.

       6.      JPMorgan Chase Bank, N.A., services the loan on the property referenced in this

motion for relief. In the event the automatic stay in this case is lifted/set aside, this case

dismisses, and/or the debtor obtains a discharge and a foreclosure action is commenced on the

mortgaged property, the foreclosure will be conducted in the name of JPMorgan Chase Bank,

National Association. Said entity, directly or through an agent, has possession of the promissory

note. The promissory note is either made payable to said entity or has been duly endorsed.

       7.      This Court has jurisdiction of this action pursuant to the provisions of Title 28

U.S.C. Section 157(b)(2)(G) and 11 U.S.C. Section 362(d).

       8.      In accordance with the Fair Debt Collection Practices Act, unless the consumer,

within thirty days after receipt of this notice, disputes the validity of any portion of the debt, the

debt will be assumed valid. If said consumer notifies the undersigned attorney for Plaintiff in

writing within said thirty day period that any portion of the debt is disputed, said attorney will

obtain verification of the debt and/or judgment and a copy of such verification will be mailed to

said consumer by the undersigned attorney for Plaintiff; and upon written request by the

consumer within the thirty day period, the undersigned attorney for Plaintiff will provide the

name and address of the original creditor, if different from the current creditor. This is an

attempt to collect a debt and any information obtained will be used for that purpose.

       WHEREFORE, Movant prays as follows:

       (1)     For an Order granting relief from the automatic stay, abandoning the property

from the bankruptcy estate and allowing Movant to commence and/or complete foreclosure



                                                  2
                Case: 19-11981       Doc: 8     Filed: 06/19/19      Page: 3 of 16




proceedings under applicable state law, including all necessary actions to obtain possession of

the property.

       (2)      For such other relief as this Court deems appropriate.

                        NOTICE OF OPPORTUNITY FOR HEARING



       Your rights may be affected. You should read this document carefully and consult

your attorney about your rights and the effect of this document. If you do not want the

Court to grant the requested relief, or you wish to have your views considered, you must file a

written response or objection to the requested relief with the Clerk of the United States

Bankruptcy Court for the Western District of Oklahoma, 215 Dean A. McGee Avenue,

Oklahoma City, OK 73102 no later than 14 days from the date of filing of this request for relief.

You should also mail a file-stamped copy of your response or objection to the undersigned

Movant attorney (and others who are required to be served) and file a certificate of service with

the Court. If no response or objection is timely filed, the Court may grant the requested relief

without a hearing or further notice. The 14 day period includes the 3 days allowed for

mailing provided for the Rule 9006(f) Fed.R.Bankr. Proc.

                                              SHAPIRO & CEJDA, LLC


                                              BY: __s/Kirk J. Cejda_________
                                                  Kirk J. Cejda OBA #12241
                                                  770 NE 63rd St
                                                  Oklahoma City, OK 73105-6431
                                                  (405)848-1819
                                                  Attorney for Wells Fargo Bank, N.A.
                                                  (405)848-2009 (Facsimile No.)
                                                  okecfwestern@logs.com



                                                 3
               Case: 19-11981       Doc: 8     Filed: 06/19/19     Page: 4 of 16




                                 CERTIFICATE OF MAILING

        The undersigned hereby certifies that on the 19th of June, 2019, the foregoing pleading
was mailed via U.S. Mail, first class, postage prepaid to the following parties, to-wit: Chris
Wayne Cooper, 42408 Wolverine Road, Shawnee, OK 74804, (Debtor) and all parties listed on
the attached Debtor’s matrix. Further, I certify that a true and correct copy of the foregoing
pleading was electronically served on the 19th of June, 2019, using the CM/ECF system to the
following parties: Paul J. Choate, (Attorney for Debtor), Lyle R. Nelson, (Trustee).


                                             _s/Kirk J. Cejda___________
                                             Kirk J. Cejda OBA #12241

File No. 18-134238




                                                4
Case: 19-11981   Doc: 8   Filed: 06/19/19   Page: 5 of 16
Case: 19-11981   Doc: 8   Filed: 06/19/19   Page: 6 of 16
Case: 19-11981   Doc: 8   Filed: 06/19/19   Page: 7 of 16
Case: 19-11981   Doc: 8   Filed: 06/19/19   Page: 8 of 16
Case: 19-11981   Doc: 8   Filed: 06/19/19   Page: 9 of 16
Case: 19-11981   Doc: 8   Filed: 06/19/19   Page: 10 of 16
Case: 19-11981   Doc: 8   Filed: 06/19/19   Page: 11 of 16
Case: 19-11981   Doc: 8   Filed: 06/19/19   Page: 12 of 16
Case: 19-11981   Doc: 8   Filed: 06/19/19   Page: 13 of 16
Case: 19-11981   Doc: 8   Filed: 06/19/19   Page: 14 of 16
Case: 19-11981   Doc: 8   Filed: 06/19/19   Page: 15 of 16
                                  Case: 19-11981           Doc: 8          Filed: 06/19/19      Page: 16 of 16
Label Matrix for local noticing                      USBC Western District of Oklahoma                    ACCT MGMT RESOURCES LL
1087-5                                               215 Dean A. McGee                                    726 W SHERIDAN AVE
Case 19-11981                                        Oklahoma City, OK 73102-3426                         OKLAHOMA CITY OK 73102-2412
Western District of Oklahoma
Oklahoma City
Wed Jun 19 15:39:32 CDT 2019
CHASE MTG                                            CREDIT ONE BANK NA                                   CREDIT SYSTEMS INTL IN
700 KANSAS LN                                        PO BOX 98875                                         1277 COUNTRY CLUB LN
MONROE LA 71203-4774                                 LAS VEGAS NV 89193-8875                              FORT WORTH TX 76112-2304



(p)DISCOVER FINANCIAL SERVICES LLC                   MIDLAND FUNDING                                      PORTFOLIO
PO BOX 3025                                          2365 NORTHSIDE DR STE 30                             120 CORPORATE BLVD STE 1
NEW ALBANY OH 43054-3025                             SAN DIEGO CA 92108-2709                              NORFOLK VA 23502-4952



PORTFOLIO RECOV ASSOC                                SHAPIRO CEJDA                                        United States Trustee
120 CORPORATE BLVD STE 1                             770 NE 63RD ST                                       United States Trustee
NORFOLK VA 23502-4952                                OKLAHOMA CITY OK 73105-6423                          215 Dean A. McGee Ave., 4th Floor
                                                                                                          Oklahoma City, OK 73102-3479


Chris Wayne Cooper                                   Lyle R. Nelson                                       Paul J Choate
42408 Wolverine Rd                                   Two Leadership Square                                The Choate Law Firm
Shawnee, OK 74804-9161                               211 N. Robinson, ste 1300                            400 N. Broadway
                                                     Oklahoma City, OK 73102-7222                         Shawnee, OK 74801-6922




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


DISCOVER
PO BOX15316 ATTCMSPROD DEVELOP
WILMINGTON DE 198505316




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Wells Fargo Bank, N.A.                            End of Label Matrix
                                                     Mailable recipients     14
                                                     Bypassed recipients      1
                                                     Total                   15
